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UNITED STATES DISTRICT COURT |DOC HE LL.
SOUTHERN DISTRICT OF NEW YORK ToscrpreiEp: (Saaz
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BEASTIE BOYS, et al.,
Plaintiffs, 12 Civ, 6065 (PAE)
- against - SATISFACTION OF JUDGMENT
MONSTER ENERGY COMPANY,
Defendant.
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WHEREAS, a judgment was entered in the above action.on the 24th day of June,
2015 in favor of Plaintiffs, BEASTIE BOYS, et al and against the Defendant MONSTER

ENERGY COMPANY in the amount of $1,959,249.14; and

WHEREAS, an amount agreed upon by the parties in satisfaction of the. judgment
has been paid, and it is certified that there are no outstanding executions with any Sheriff or
Marshall.

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THEREFORE, full and complete satisfaction of said judgment is hereby
acknowledged, and the Clerk of the Court is hereby authorized and directed to make an entry of

the full and complete satisfaction on the docket of said judgment.

Dated: New York, New York

December 18, 2015 .
SHEPPARD MYLLIN RICHTER & HAMPTON

LLP

Kevin R. Puvalowski, Esq. (KP-0091)
Paul W. Garrity, Esq. (PG-3492)
Kenneth B. Anderson, Esq. (KA-9923)
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STATE OF NEW YORK )
) SS.
COUNTY OF NEW YORK )

On the 18th day of December, 2015 before me personally came Kevin R.
Puvalowski to me known and known to be a member of the firm of Sheppard, Mullin, Richter &
Hampton LLP, attorneys for Plaintiffs in the above-entitled action, and to be the same person

described in and who executed the within satisfaction of judgment and acknowledged to me that

he executed the same,

Notary Public

THOMAS MCKEE MONAHAN
Notary Public, State of New York
No. 02M0Q6330797
Qualified in New York County
Commission Expires September 21, 2019

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